Case 3:11-md-02244-K Document 1067 Filed 12/17/19                        Page 1 of 2 PageID 42056


                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE: DEPUY ORTHOPAEDICS,                             §
INC. PINNACLE HIP IMPLANT                              §            MDL Docket No.
PRODUCTS LIABILITY                                     §
LITIGATION                                             §            3:11-MD-2244-K
                                                       §
------------------------------------------------------ §
This Document Relates to all Cases                     §
------------------------------------------------------ §

                                                     ORDER

         On September 11, 2019, this Court entered Case Management Order No. 12

[Doc. 1054] requiring certain groups of litigants to respond to and produce specific

information regarding their claims. Following entry of Case Management Order No.

12, the Court has received numerous motions filed by attorneys seeking to withdraw

without substitution of new counsel.                       The Court ORDERS the follow procedure

applicable when attorneys seek to withdraw without substitution of new counsel:

    1. Existing counsel for any plaintiff shall certify that a copy of any motion to

         withdraw and a copy of this Order were served on each plaintiff.

    2. Plaintiff shall have 60 days from the date of service of the motion to withdraw

         and a copy of this order to obtain replacement counsel. If no replacement

         counsel files a timely notice of appearance, Defendants may file a motion to

         dismiss for failure to comply with Case Management Order No. 12.

    3. If replacement counsel files a timely notice of appearance, the replacement
Case 3:11-md-02244-K Document 1067 Filed 12/17/19           Page 2 of 2 PageID 42057


     counsel shall have 30 days from the date of appearance to file a certification

     that: (1) plaintiff will comply with Case Management Order No. 12 within 90

     days; and (2) replacement counsel and the client intend to pursue the matter to

     trial.   If replacement counsel fails to timely file this certification, Defendants

     may file a motion to dismiss for failure to comply with Case Management Order

     No. 12.

     SO ORDERED.

     Signed December 17th, 2019.


                                        ____________________________________
                                        ED KINKEADE
                                        UNITED STATES DISTRICT JUDGE
